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  15   AMAZON.COM SERVICES, INC.,
       AMAZON.COM, INC.
  16
  17                            UNITED STATES DISTRICT COURT

  18                           CENTRAL DISTRICT OF CALIFORNIA

  19
  20   MARCELLUS MCMILLIAN,                      Case No.: CV 19-2121-MWF(JCx)

  21                           Plaintiffs,       Honorable Michael W. Fitzgerald

  22                     vs.                     DEFENDANTS’ OBJECTION TO
                                                 PLAINTIFF’S UNTIMELY
  23   GOLDEN STATE FC LLC, AMAZON               PRETRIAL FILINGS
       FULFILLMENT SERVICES, INC.,
  24   AMAZON.COM SERVICES, INC.,
       AMAZON.COM, INC., and DOES 1 to           Complaint Filed: January 11, 2019
  25   100, inclusive,
                                                 Trial Date: June 28, 2022
  26                           Defendants.

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                                                   DEFENDANT’S OBJECTION TO PLAINTIFF’S
                                             1              UNTIMELY PRETRIAL FILINGS
       DB2/ 42926741.2                                       CASE NO. 19-CV-2121-MWF
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                    1            Defendants GOLDEN STATE FC LLC, AMAZON FULFILLMENT
                    2   SERVICES, INC., AMAZON.COM SERVICES, INC., and AMAZON.COM, INC.
                    3   (collectively “Defendants”) hereby object to Plaintiff Marcellus McMillian’s
                    4   (“Plaintiff”) untimely Amended Motion in Limine No. 1 (Dkt. No. 131), Amended
                    5   Opposition to Defendants’ Motion in Limine No. 1 (Dkt. No. 132), Amended
                    6   Opposition to Defendants’ Motion in Limine No. 2 (Dkt. No. 133), and Amended
                    7   Opposition to Defendants’ Motion in Limine No. 4 (Dkt. No. 134), and requests that
                    8   they be stricken from the record. If the Court decides that it will entertain these
                    9   untimely filings, then Defendants request an equitable opportunity to submit a
                10      substantive response to them within two weeks of the Court’s ruling on this
                11      Objection.
                12               At the time that the Court issued its order vacating the Final Pretrial
                13      Conference and the Trial due to the rising number of cases of the Omicron variant of
                14      COVID-19 in early January of this year (Dkt. No. 122), each party had filed timely
                15      their respective motions in limine by the December 13, 2021 deadline that is set in
                16      the Court’s governing Scheduling Orders (Dkt. Nos. 17, 86), and all timely
                17      oppositions to those motions in limine had been filed timely by the December 20,
                18      2021 deadline. When the Court continued the Final Pretrial Conference and the trial
                19      date in early January, it did not also extend any deadlines that had already passed.
                20               Despite the governing orders establishing these pretrial deadlines in
                21      December, Plaintiff has engaged in what is now a pattern of untimely filings in
                22      flagrant disregard of the Federal Rules of Civil Procedure and this Court’s standing
                23      order, including:
                24                       On January 3, 2022, Plaintiff filed an untimely Motion in Limine No. 3
                25      without seeking leave. When the Court vacated the trial date two days later, it
                26      instructed Plaintiff to provide an explanation for the untimely filing before
                27      Defendants would be required to oppose it (Dkt. No. 122). Plaintiff then proffered a
                28      patently false explanation to the Court, as Defendants explained in more detail in the
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                                                                        2               UNTIMELY PRETRIAL FILINGS
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                    1   subsequent Opposition that the Court ordered Defendants to file after accepting
                    2   Plaintiff’s explanation (Dkt. No. 128 at 8:13-10:2).
                    3                    On February 1, 2022, Plaintiff unilaterally filed an Amended Witness List
                    4   adding a new witness who was never properly disclosed and after the deadline for
                    5   Defendants to file a timely motion in limine to exclude that witness had already
                    6   passed (Dkt. No. 129). As stated in Defendants’ Objection to that filing, Federal
                    7   Rule of Civil Procedure 16 required Plaintiff to seek leave of the Court and
                    8   demonstrate good cause for modifying the pretrial scheduling order before Plaintiff
                    9   can submit an amended witness list after the deadline for submitting the witness list
                10      (Dkt. No. 130 at 6:11-8:5). Because Plaintiff could never make that showing, he
                11      simply ignored the rule and unilaterally filed the untimely amended witness list
                12      without leave of the Court.
                13                       On March 8, 2022, Plaintiff filed an amended Motion in Limine No. 1
                14      presenting entirely new arguments that were not in the original motion (in essence,
                15      making a new and untimely motion) and that Defendants have not had the
                16      opportunity to oppose.1 Plaintiff also submitted entirely new oppositions to three of
                17      Defendants’ timely motions in limine, adding arguments that could have been
                18      asserted at the time Plaintiff filed his original oppositions when they were due 78
                19      days earlier.2
                20               Federal Rule of Civil Procedure 16(f)(1)(C) authorizes this Court to “issue any
                21      just orders, including those authorized by Rule 37(b)(2)(A)(ii)–(vii), if a party or its
                22
                23      1
                          Disregarding yet another rule, Plaintiff’s Amended Motion in Limine No. 1 is two
                24      full pages over the Court’s 10-page limit for all motions in limine. Dkt. No. 17 at
                        6:21-22 (“All motions [in limine] and oppositions are limited to ten (10) pages in
                25      length.”).
                        2
                26        Indeed, even if Defendants followed Plaintiff’s lead, ignored the scheduling order,
                        and immediately proceeded to prepare new oppositions to Plaintiff’s original
                27      motions in limine (much less the untimely amended one), Defendants would have
                        less time to prepare these new oppositions than Plaintiff took because there are only
                28      76 days between Plaintiff’s untimely filings and May 23, 2022, which would be
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                        two weeks before the continued Final Pretrial Conference.
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                                                                        3               UNTIMELY PRETRIAL FILINGS
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                    1   attorney . . . fails to obey a scheduling or other pretrial order.” According to the
                    2   Notes of Advisory Committee on Rules, the authority to sanction a party that
                    3   disobeys the Court’s scheduling order or other pretrial orders “reenforces the rule’s
                    4   intention to encourage forceful judicial management.” See also Johnson v.
                    5   Mammoth Recreations, Inc., 975 F.2d 604, 610 (9th Cir. 1992) (“Disregard of the
                    6   [scheduling] order would undermine the court’s ability to control its docket, disrupt
                    7   the agreed-upon course of the litigation, and reward the indolent and the cavalier.
                    8   Rule 16 was drafted to prevent this situation . . . .”).
                    9            Because Plaintiff has not faced any consequences for violating the Court’s
                10      Scheduling Order on January 3, Plaintiff has now made such violations a regular
                11      occurrence. It is imperative that the Court intervene and end these filings, as each
                12      new violation adds to the prejudice suffered by Defendants, who are following the
                13      Court’s rules as they prepare for trial. See Ayala v. Cty. of Imperial, No. 15CV397-
                14      LAB (PCL), 2017 WL 1062589, at *5–6 (S.D. Cal. Mar. 21, 2017) (admonishing
                15      plaintiff’s counsel for ignoring the court’s deadlines whereas “Defense counsel had
                16      every reason to think the Court’s scheduling order meant what it said.”).
                17               Absent action from the Court before the Final Pretrial Conference scheduled
                18      for June 6, which is when motions in limine will be heard, Defendants are left to
                19      guess whether the Court will accept these late filings, whether Defendants must
                20      spend valuable time preparing to respond to untimely arguments in Plaintiff’s late
                21      submissions should the Court accept them, whether Defendants should similarly
                22      presume that they too can substantively amend past filings between now and June
                23      and are passing on an opportunity to do so, and whether Plaintiff has additional
                24      surprise filings that he might file at any time that may moot what is already on file
                25      and in the record. The court in Ayala, which exercised its authority to warn a
                26      plaintiff that the next violation of the court’s scheduling order would result in
                27      dismissal, summarized the inherent harms that one party’s disregard of the court’s
                28      deadline can cause as follows:
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                                                                    4                UNTIMELY PRETRIAL FILINGS
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                    1                     When Plaintiffs’ counsel filed their late motion, Defense counsel could
                    2                     not have known for certain what to do. Would the Court accept the late
                    3                     filing? And in case the Court did accept it, should they begin preparing
                    4                     their opposition? And if a filing was due, Plaintiffs’ tardiness had
                    5                     eaten up some of their response time; was the deadline still March 29,
                    6                     or would their deadline be extended? With this late and unexplained
                    7                     filing, Plaintiffs’ counsel unfairly surprised their opponents and
                    8                     imposed undue burdens on them. Whether this was the result of
                    9                     gamesmanship or merely inexcusable negligence, the result was the
                10                        same. Plaintiffs’ counsel gained an unfair advantage at Defendants’
                11                        expense.
                12
                        See Ayala, 2017 WL 1062589, at *5–6.
                13
                                 Because Plaintiff’s habitual noncompliance with the Court’s deadlines is
                14
                        causing continuing prejudice to Defendants, the Court is requested to exercise its
                15
                        authority to ensure Plaintiff’s future compliance with the Court’s scheduling order
                16
                        and strike all of Plaintiff’s untimely filings. See Yardley v. ADP TotalSource, Inc.,
                17
                        No. CV-13-04639-MWF JCGX, 2014 WL 1496333, at *3 (C.D. Cal. Apr. 4, 2014)
                18
                        (Fitzgerald, J.) (holding that a motion filed after the motion filing deadline set by the
                19
                        scheduling order “offers a basis for denial” without reaching the motion’s merits).
                20
                        If, however, the Court is not inclined to issue any such order at this juncture, then
                21
                        Defendants request that the Court so indicate and grant leave for Defendants to
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                        respond to Plaintiff’s untimely filings within two weeks of the Court’s decision on
                23
                        this Objection.
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                                                                       5                UNTIMELY PRETRIAL FILINGS
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                    1   Dated: April 4, 2022              MORGAN, LEWIS & BOCKIUS LLP
                    2
                    3                                     By /s/Alexander L. Grodan
                                                               Barbara A. Fitzgerald
                    4                                          Ethel J. Johnson
                                                               Alexander L. Grodan
                    5                                        Attorneys for Defendants
                                                             GOLDEN STATE FC LLC, et al.
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                                                      6                UNTIMELY PRETRIAL FILINGS
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